                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                 No. CR 08-4060
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 JAMIE WEBSTER,                                     RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________


                        I. INTRODUCTION AND BACKGROUND
       On November 20, 2008, a one-count Third Superseding Indictment was returned
against the defendant Jamie Webster. On January 13, 2009, the defendant appeared before
United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count 1 of the
Third Superseding Indictment. On January 13, 2009, Judge Zoss filed a Report and
Recommendation in which he recommended that defendant’s guilty plea be accepted. No
objections to Judge Zoss' Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss' recommendation to accept defendant’s plea
in this case.


                                      II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Report and Recommendation of January 13,
2009, and accepts defendant’s plea of guilty in this case to Count 1 of the Third
Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 28th day of January, 2009.




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